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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA,

Plaintiff, CASE NO. 8:19-cr-33-T-3¢

v.
JACK R. DOVE, III

Defendant.

DEFENDANT’S MOTION TO FILE EXHIBITS F AND G TO “DEFEND4
TO UNITED STATES’ RESPONSE IN OPPOSITION TO DEFENDANT'S
FOR A HEARING PURSUANT TO FRANKS V. DELAW-: ” (Doc. 117)

Defendant Jack R. Dove, III., through his undersigned counsel, he
pursuant to Local Rule 1.09 to file Exhibits F and G to “Defendant’s Reply to Un
Response in Opposition to Defendant’s Motion to for a Hearing Pursuant to Fran

(Doc. 117) under seal, and in support thereof states:

1.
“Defendant’s Reply to United States’ Response in Opposition to Defendant’s
Hearing Pursuant to Franks v. Delaware” (Doc. 117) under seal because the
information protected by Fed. R. Crim. P. 49.1(a) including addresses, birth date)
numbers and financial account numbers.

2. The defendant proposes that the document be remained under
conclusion of the case through all appeals.

3. The government, through Assistant United States Attorney Lisa |

objection to the motion.

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5CPT

ANT’S REPLY
} MOTION TO
UNDER SEAL

>reby moves

ited States’

ks v. Delaware”

The defendant moves this court for authorization to file exhibits F and G to

Motion to for a
exhibits contain

s, social security

seal through the

Thelwell, has no

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MEMORANDUM OF LAW

1. Trial courts have the inherent authority and discretion to seal r

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ecords. Nixon v.

Warner Commc'ns, Inc., 435 U.S. 589, 598 (1978). Decisions on motions to s¢al must balance

the public's common law right of access against the interests favoring confident!

The common law right of access may be overcome by a showing of good caus
balancing the asserted right of access against the other parties’ interest

information confidential. Romero v. Drummond Co. Inc., 480 F.3d 1234, 1246

Among the factors the court should consider is whether allowing access wot

ality. Id. at 599.
2 which requires
in keeping the
(11™ Cir. 2007).

uid impair court

functions or harm legitimate privacy interests, the degree of and the likelihood of injury if it were

made public, the reliability of the information, whether there will be an oppo

the information, whether the information concerns public officials or public co

Tribune Co. v. Bridgestone/Firestone, Inc. 263 F 3d 1304, 1309 (11® Cir. 2001

ity to respond to
cerns. Chicago

). Good cause is

established by the moving party when disclosure will cause the party to suffer a clearly defined

and serious injury. Vista India, Inc. v. Raaga, LLC Case No. 07-1262, 2008
(D.N.J. Mar. 27, 2009).

2.

WL 834399 *2

The Supreme Court has stated that the "First Amendment does not guarantee the

press a constitutional right of special access to information not available to the public generally."

Branzburg v. Hayes, 408 U.S. 665, 684, 92 S.Ct. 2646 2658, 33 L.Ed.2d 626 (

(citations omitted); see also Pell v. Procunier, 417 U.S. 817, 833-34, 94 S.Ct

L.Ed.2d 495 (1974). In balancing competing public and private interests in

1972) (plurality)

2800 2810, 41

United States v.

Anderson 799 F. 2d 1438 (11 Cir. 1986) the court upheld the sealing of a bill of particulars

because it contained the names of unindicted co-conspirators who had a privacy interest in their

names not being in the press unless they were charged and noted, “a bill of particulars is not a
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document that the public and the press are entitled to view.” Id. at 1442.
WHEREFORE, the defendant moves to file the enclosed Exhibits F and G to
“Defendant’s Reply to United States’ Response in Opposition to Defendant's Motion to for a

Hearing Pursuant to Franks v. Delaware ” (Doc. 117) under seal.

Respectfully submitted this 18" day of
May, 2020.

“KA

Timothy Fitdgerald, E$q.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically to the following on the 18th day of May, 2020:

AUSA Lisa Thelwell
